                               Case 1:19-md-02875-RMB-SAK                        Document 1906-2               Filed 02/08/22           Page 1 of 58
                                                                                 PageID: 57393




4 October 2018
EMA/127362/2006, Rev. 1




Output of the European Medicines Agency policy on access to documents related to
medicinal products for human and veterinary use


Introductory remarks

Aim of the document

This document needs to be read in conjunction with the following documents:

•   Regulation (EC) No 1049/2001 of the European Parliament and of the Council of 30 May 2001 regarding public access to European Parliament,
    Council and Commission documents.

•   European Medicines Agency policy on access to documents (EMA/729522/2016).

This document, which contains guidance for the application of Regulation (EC) No 1049/2001 to documents related to medicinal products for human and
veterinary use held by the EMA, is not legally binding. For any document not listed, access will be granted or refused in accordance with the principles
outlined in the European Medicines Agency policy on access to documents. It should, therefore, be noted that this document should be considered as a




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                                Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22   Page 2 of 58
                                                                                   PageID: 57394


“living” document which is aimed at increasing the transparency of the Agency's classification of documents. It will be updated on a continuous basis
taking into account further experience, as well as the legal interpretation of Regulation (EC) No 1049/2001 given by the European Court of Justice.

Moreover, the “Guide to information on human medicines evaluated by EMA-What the Agency publishes and when” (EMA/515416/2015) describes the
different types of information and documents the Agency publishes for both centrally and non-centrally authorised medicines, as well as the publication
time and the location on EMA’s website.

For corporate documents, please refer to the “Output of the European Medicines Agency policy on access to documents non-related to medicinal products
for human and veterinary use” (EMA/183710/2016).

This “output” document lists the various document types which may be subject to requests for access to documents related to medicinal products for
human and veterinary use. These document types have been classified as follows:

1. Documents or relevant section of documents in relation to product-specific issues

    1.1.     Documents related to Committee for Human Medicinal Products/Committee for Veterinary Medicinal Product activities

    1.2.     Documents related to Pharmacovigilance Risk Assessment Committee activities

    1.3.     Documents related to Committee for Orphan Medicinal Products activities

    1.4.     Documents related to Committee for Herbal Medicinal Products activities

    1.5.     Documents related to Paediatric Committee activities

    1.6.     Documents related to Committee for Advanced Therapies activities

    1.7.     Documents related to advice from specialised expertise

2. Documents in relation to general scientific issues, organisational and operational aspects

3. Documents prepared by EMA in the context of the Agency’s transparency activities

4. Documents submitted by applicants and marketing authorisation holders

5. Other documents

Furthermore, this document addresses the disclosure of names of individuals involved in an EMA activity and contained in EMA documents.




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                           Page 2/58
                                Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22   Page 3 of 58
                                                                                   PageID: 57395


Abbreviations

BWP:               Biologics Working Party

CAPs:              Centrally Authorised Products

CAT:               Committee for Advanced Therapies

CHMP:              Committee for Human Medicinal Products

CMDh:              Coordination Group for Mutual Recognition and Decentralised Procedures - Human

COMP:              Committee for Orphan Medicinal Products

CVMP:              Committee for Veterinary Medicinal Products

EMA:               European Medicines Agency

EPAR:              European Public Assessment Report

EPMAR:             European Public MRL Assessment Report

HMPC:              Committee for Herbal Medicinal Products

LoQs:              List of Questions

LoOIs:             List of Outstanding Issues

MA:                Marketing Authorisation

MAH:               Marketing Authorisation Holder

MRL:               Maximum Residue Limit

NAPs:              Nationally Authorised Products

Non-R:             Non-Releasable

PASS:              Post-authorisation Safety Study

PDCO:              Paediatric Committee



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                           Page 3/58
                                Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22   Page 4 of 58
                                                                                   PageID: 57396


PIP:               Paediatric Investigation Plan

PRAC:              Pharmacovigilance Risk Assessment Committee

R:                 Releasable

RSI:               Request for Supplementary Information

PSURs:             Periodic Safety Update Reports

SAG:               Scientific Advisory Group




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                           Page 4/58
                                Case 1:19-md-02875-RMB-SAK                         Document 1906-2                 Filed 02/08/22          Page 5 of 58
                                                                                   PageID: 57397


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
1. Documents or relevant section of documents in relation to product-specific issues
1.1 Documents related to CHMP/CVMP activities

CHMP/CVMP Opinion (centralised procedures                    No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
(CAPs) , arbitration/ referral procedures (CAPs and                            Commission Decision
NAPs), as well as pharmacovigilance procedures                                 granting or refusing the
(CAPs and NAPs)                                                                MA/variation to the MA
                                                                               (or Committee Opinion if
                                                                               there is no subsequent
                                                                               Commission Decision, or
                                                                               company’s letter
                                                                               notifying the
                                                                               withdrawal), or prior to
                                                                               Commission Decision on
                                                                               the Committee Opinion
                                                                               on the outcome of the
                                                                               arbitration/referral
                                                                               procedure


                                                                               R                              Yes             Not applicable    Not applicable    Yes

                                                                               •    once Commission
                                                                                    Decision granting or
                                                                                    refusing the
                                                                                    MA/variation to the
                                                                                    MA, or once
                                                                                    Commission



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                       Page 5/58
                                Case 1:19-md-02875-RMB-SAK                         Document 1906-2                 Filed 02/08/22          Page 6 of 58
                                                                                   PageID: 57398


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
                                                                                    Decision on the
                                                                                    Committee Opinion
                                                                                    on the outcome of
                                                                                    the arbitration/
                                                                                    referral procedure
                                                                                    is available,

                                                                               •    or upon finalisation
                                                                                    of the procedure
                                                                                    related to the
                                                                                    annual Decision of
                                                                                    the Commission,

                                                                               •    or upon availability
                                                                                    of Committee
                                                                                    Opinion if there is
                                                                                    no subsequent
                                                                                    Commission
                                                                                    Decision, or
                                                                                    company’s letter
                                                                                    notifying the
                                                                                    withdrawal


CHMP/CVMP Assessment Report centralised                      No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
procedures (CAPs) , arbitration/ referral procedures                           Commission Decision
(CAPs and NAPs), as well as pharmacovigilance                                  granting or refusing the
procedures (CAPs and NAPs)                                                     MA/variation to the MA
                                                                               (or Committee Opinion if


Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                       Page 6/58
                                Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 7 of 58
                                                                                   PageID: 57399


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7
                                                                               there is no subsequent
                                                                               Commission Decision, or
                                                                               Committee conclusion if
                                                                               there is no subsequent
                                                                               Committee Opinion, or
                                                                               company’s letter
                                                                               notifying the
                                                                               withdrawal), or prior to
                                                                               Commission Decision on
                                                                               the Committee Opinion
                                                                               on the outcome of the
                                                                               arbitration/referral
                                                                               procedure


                                                                               R                              Yes             Not applicable   Not applicable    Yes

                                                                               •    once Commission
                                                                                    Decision granting or
                                                                                    refusing the
                                                                                    MA/variation to the
                                                                                    MA, or once
                                                                                    Commission
                                                                                    Decision on the
                                                                                    Committee Opinion
                                                                                    on the outcome of
                                                                                    the arbitration/
                                                                                    referral procedure




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                    Page 7/58
                                Case 1:19-md-02875-RMB-SAK                         Document 1906-2                 Filed 02/08/22          Page 8 of 58
                                                                                   PageID: 57400


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
                                                                                    is available,



                                                                               •    or upon finalisation
                                                                                    of the procedure
                                                                                    related to the
                                                                                    annual Decision of
                                                                                    the Commission,

                                                                               •    or upon availability
                                                                                    of Committee
                                                                                    Opinion if there is
                                                                                    no subsequent
                                                                                    Commission
                                                                                    Decision, or
                                                                                    Committee
                                                                                    conclusion if there is
                                                                                    no subsequent
                                                                                    Committee Opinion,
                                                                                    or company’s letter
                                                                                    notifying the
                                                                                    withdrawal


(Co)-Rapporteur Assessment Report                            No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
                                                                               Commission Decision
Written comments from CHMP/CVMP Members
                                                                               granting or refusing the
(including comments received in the context of the
                                                                               MA/variation to the MA



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                       Page 8/58
                                Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 9 of 58
                                                                                   PageID: 57401


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7
peer review exercise)                                                          (or Committee Opinion if
                                                                               there is no subsequent
LoQs, LoOIs and RSIs
                                                                               Commission Decision, or
                                                                               Committee conclusion if
                                                                               there is no subsequent
                                                                               Committee Opinion, or
                                                                               company’s letter
                                                                               notifying the
                                                                               withdrawal), or prior to
                                                                               Commission Decision on
                                                                               the Committee Opinion
                                                                               on the outcome of the
                                                                               arbitration/referral
                                                                               procedure (where
                                                                               relevant)


                                                                               R                              Yes             Not applicable   Not applicable    Yes

                                                                               •    once Commission
                                                                                    Decision granting or
                                                                                    refusing the
                                                                                    MA/variation to the
                                                                                    MA, or once
                                                                                    Commission
                                                                                    Decision on the
                                                                                    Committee Opinion
                                                                                    on the outcome of




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                    Page 9/58
                               Case 1:19-md-02875-RMB-SAK                          Document 1906-2               Filed 02/08/22         Page 10 of 58
                                                                                    PageID: 57402


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7
                                                                                    the arbitration/
                                                                                    referral procedure
                                                                                    (where relevant) is
                                                                                    available,

                                                                               •    or upon finalisation
                                                                                    of the procedure
                                                                                    related to the
                                                                                    annual Decision of
                                                                                    the Commission,

                                                                               •    or upon availability
                                                                                    of Committee
                                                                                    Opinion if there is
                                                                                    no subsequent
                                                                                    Commission
                                                                                    Decision, or
                                                                                    Committee
                                                                                    conclusion if there is
                                                                                    no subsequent
                                                                                    Committee Opinion,
                                                                                    or company’s letter
                                                                                    notifying the
                                                                                    withdrawal


Agendas and minutes of CHMP/CVMP                             No                Agendas /minutes since         Yes             Not applicable   Not applicable    No
meetings 8                                                                     December 2013:
                                                                               published on EMA


Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 10/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 11 of 58
                                                                                   PageID: 57403


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7

                                                                               website




                                                                               Agendas/minutes prior          Yes             Not applicable    Not applicable    Yes
                                                                               to December 2013: R



Tables of Conclusions/Decisions of CHMP                      No                Non-R for concerned            No              Art. 4.3. 1st §                     Not applicable
meetings                                                                       medicinal product prior
                                                                               to Commission Decision
                                                                               granting or refusing the
                                                                               MA/variation to the MA
                                                                               (or CHMP Opinion if
                                                                               there is no subsequent
                                                                               Commission Decision, or
                                                                               Committee conclusion if
                                                                               there is no subsequent
                                                                               Committee Opinion, or
                                                                               company’s letter
                                                                               notifying the
                                                                               withdrawal), or prior to
                                                                               Commission Decision on
                                                                               the CHMP Opinion on the
                                                                               outcome of the
                                                                               arbitration/referral
                                                                               procedure




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 11/58
                               Case 1:19-md-02875-RMB-SAK                          Document 1906-2               Filed 02/08/22         Page 12 of 58
                                                                                    PageID: 57404


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

                                                                               R for concerned                Yes             Not applicable   Not applicable    Yes
                                                                               medicinal product

                                                                               •    once Commission
                                                                                    Decision granting or
                                                                                    refusing the
                                                                                    MA/variation to the
                                                                                    MA, or once
                                                                                    Commission
                                                                                    Decision on the
                                                                                    CHMP Opinion on
                                                                                    the outcome of the
                                                                                    arbitration/ referral
                                                                                    procedure is
                                                                                    available,

                                                                               •    or upon finalisation
                                                                                    of the procedure
                                                                                    related to the
                                                                                    annual Decision of
                                                                                    the Commission,

                                                                               •    or upon availability
                                                                                    of Committee
                                                                                    Opinion if there is
                                                                                    no subsequent
                                                                                    Commission
                                                                                    Decision, or



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 12/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 13 of 58
                                                                                   PageID: 57405


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
                                                                                    Committee
                                                                                    conclusion if there is
                                                                                    no subsequent
                                                                                    Committee Opinion,
                                                                                    or company’s letter
                                                                                    notifying the
                                                                                    withdrawal


Agendas of CHMP/CVMP Working Party 9                         No                Non-R for concerned            No              Art. 4.3. 1st §                     Not applicable
meetings                                                                       medicinal product prior
                                                                               to Commission Decision
Tables of Conclusions/Decisions of CHMP
                                                                               granting or refusing the
Working Party meetings
                                                                               MA/variation to the MA
Minutes of CHMP/CVMP Working Party                                             (or Committee Opinion if
meetings                                                                       there is no subsequent
                                                                               Commission Decision, or
                                                                               Committee conclusion if
                                                                               there is no subsequent
                                                                               Committee Opinion, or
                                                                               company’s letter
                                                                               notifying the withdrawal)




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 13/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 14 of 58
                                                                                   PageID: 57406


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

                                                                               R for concerned                Yes             Not applicable   Not applicable    Yes
                                                                               medicinal product once
                                                                               Commission Decision
                                                                               granting or refusing the
                                                                               MA/variation to the MA
                                                                               is available (or
                                                                               Committee Opinion if
                                                                               there is no subsequent
                                                                               Commission Decision, or
                                                                               Committee conclusion if
                                                                               there is no subsequent
                                                                               Committee Opinion, or
                                                                               company’s letter
                                                                               notifying the withdrawal)


Activities relating to MRL setting: CVMP                     No                Non-R prior to adoption        No              Art. 4.2. 1st                      Not applicable
Opinion and EPMAR                                                              of Commission                                  indent
                                                                               Regulation on MRL for
                                                                               the concerned substance


                                                                               Published on EMA               Yes             Not applicable   Not applicable    No
                                                                               website after adoption of
                                                                               Commission Regulation
                                                                               on MRL for the
                                                                               concerned substance




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                     Page 14/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22              Page 15 of 58
                                                                                   PageID: 57407


Document type 1                                              Third-            Classification 3               Access 4        Reference 5        Additional        Need for
                                                             party                                                                               justification 6   redaction
                                                             document 2                                                                                            of
                                                                                                                                                                   document
                                                                                                                                                                   prior to
                                                                                                                                                                   disclosure 7

Activities relating to MRL setting (CVMP                     No                Non-R prior to                 No              Art 4.2. 1st                         Not applicable
Assessment Report, (Co)-Rapporteur Assessment                                  Commission Decision                            indent
Report, written comments from CVMP Members,                                    granting or refusing the
LoQs, advice from specialised expertise (either in                             MA for a veterinary
the context of Working Parties, SAGs,                                          medicinal product
ad hoc Expert Groups, or in the context of individual                          containing the relevant
advice provided), time schedules for applications)                             active substance for use
                                                                               in a species to which the
                                                                               MRL evaluation relates


                                                                               R once Commission              Yes             Not applicable     Not applicable    Yes
                                                                               Decision granting or
                                                                               refusing the MA for a
                                                                               veterinary medicinal
                                                                               product containing the
                                                                               relevant active
                                                                               substance for use in a
                                                                               species to which the MRL
                                                                               evaluation relates is
                                                                               available


GXP (GMP, GCP, GLP, PhV) Inspection Reports                  No, once final    Non-R                          No              Art.4.2. 3rd                         Not applicable
– inspections requested by EMA scientific                    and received                                                     indent
committees and coordinated by EMA                            by EMA




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                       Page 15/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 16 of 58
                                                                                   PageID: 57408


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7

GXP (GMP, GCP, GLP, PhV) Inspection Reports                  Yes               Non-R                          No              Art. 4.2. 3rd                       Not applicable
– inspections carried out by NCAs under their                                                                                 indent
national inspection programmes




GXP (GMP, GCP, GLP, PhV) Inspection Reports                  Yes               Non-R                          No              Art. 4.2. 3rd                       Not applicable
–inspections conducted by third parties (non-                                                                                 indent
EU countries or international organisations)




Scientific Advice/Protocol Assistance Final                  No                Non-R prior to the             No              Art. 4.2. 1st                       Not applicable
Letters                                                                        submission of the MA                           indent
                                                                               application/variation
Scientific Advice/Protocol Assistance
                                                                               application introducing
Coordinators’ Reports
                                                                               the indication/additional
PRIME requests                                                                 population to which the
                                                                               scientific advice for the
MUMS (Minor Use and Minor Species)
designations for veterinary medicines                                          concerned product
                                                                               relates


                                                                               Non-R from submission          No              Art. 4.3. 1st §                     Not applicable
                                                                               of the MA
                                                                               application/variation
                                                                               application and prior to
                                                                               Commission Decision




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 16/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 17 of 58
                                                                                   PageID: 57409


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7
                                                                               granting or refusing the
                                                                               MA/variation to the MA
                                                                               introducing the
                                                                               indication/additional
                                                                               population to which the
                                                                               scientific advice for the
                                                                               concerned product
                                                                               relates (or company’s
                                                                               letter notifying the
                                                                               withdrawal)


                                                                               R once Commission              Yes             Not applicable   Not applicable    Yes
                                                                               Decision is available
                                                                               granting or refusing the
                                                                               MA/variation to the MA
                                                                               introducing the
                                                                               indication/additional
                                                                               population to which the
                                                                               scientific advice for the
                                                                               concerned product
                                                                               relates (or company’s
                                                                               letter notifying the
                                                                               withdrawal)




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 17/58
                               Case 1:19-md-02875-RMB-SAK                          Document 1906-2               Filed 02/08/22           Page 18 of 58
                                                                                    PageID: 57410


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
1.2 Documents related to PRAC activities

PRAC Recommendation on pharmacovigilance                    No                 Non-R prior to Commission        No            Art. 4.3. 1st §                     Not applicable
referrals including temporary measures (CAPs                                   Decision on the CHMP
and NAPs)                                                                      Opinion/CMD(h) position
                                                                               (the latter in case of
                                                                               absence of consensus)

                                                                               Non-R prior to CMD(h)
                                                                               position (in case of
                                                                               consensus)


                                                                               R                                Yes           Not applicable    Not applicable    Yes

                                                                               •    once Commission
                                                                                    Decision on the CHMP
                                                                                    Opinion/CMD(h)
                                                                                    position (the latter in
                                                                                    case of absence of
                                                                                    consensus) is
                                                                                    available,

                                                                               •    or upon availability of
                                                                                    CMD(h) position (in
                                                                                    case of consensus)


PRAC Recommendation on PSUR assessment                      No                 For recommendations              No            Art. 4.3. 1st §                     Not applicable
                                                                               to vary, suspend or




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 18/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 19 of 58
                                                                                   PageID: 57411


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

and PASS results assessment (CAPs and NAPs)                                    revoke the MA:

                                                                               Non-R prior to Commission
                                                                               Decision on the CHMP
                                                                               Opinion (or CHMP Opinion
                                                                               if there is no subsequent
                                                                               Commission Decision, or
                                                                               company’s letter notifying
                                                                               the withdrawal)

                                                                               Non-R prior to Commission
                                                                               Decision on the CMD(h)
                                                                               position (in case of
                                                                               absence of consensus)

                                                                               Non-R prior to CMD(h)
                                                                               position (in case of
                                                                               consensus)

                                                                               For recommendations
                                                                               to maintain the MA:

                                                                               Non-R until availability of
                                                                               the PRAC
                                                                               Recommendation


                                                                               For recommendations              Yes           Not applicable   Not applicable    Yes
                                                                               to vary, suspend or
                                                                               revoke the MA:




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 19/58
                               Case 1:19-md-02875-RMB-SAK                          Document 1906-2               Filed 02/08/22           Page 20 of 58
                                                                                    PageID: 57412


Document type 1                                              Third-            Classification 3                Access 4       Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
                                                                               R

                                                                               •    once Commission
                                                                                    Decision on the CHMP
                                                                                    Opinion is available,

                                                                               •    once Commission
                                                                                    Decision on the
                                                                                    CMD(h) position is
                                                                                    available (in case of
                                                                                    absence of consensus)

                                                                               •    once CMD(h) position
                                                                                    is available (in case of
                                                                                    consensus)

                                                                               For recommendations
                                                                               to maintain the MA:

                                                                               R after adoption of the
                                                                               PRAC Recommendation


PRAC Recommendation on signals (CAPs and                    No                 Non-R prior to adoption of       No            Art. 4.3. 1st §                     Not applicable
NAPs)                                                                          the PRAC
                                                                               Recommendation


                                                                               Published on EMA website         Yes           Not applicable    Not applicable    No
                                                                               after PRAC adoption (if no
                                                                               update of the product




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 20/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 21 of 58
                                                                                   PageID: 57413


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
                                                                               information is required)

                                                                               Published on EMA website
                                                                               after CHMP adoption (if
                                                                               update of the product
                                                                               information is required)


PRAC Advice on risk management plans for                    No                 Non-R prior to Commission        No            Art. 4.3. 1st §                     Not applicable
products in the pre-authorisation phase                                        Decision granting or
(CAPs)                                                                         refusing the MA, or
                                                                               company’s letter notifying
                                                                               the withdrawal


                                                                               R once Commission                Yes           Not applicable    Not applicable    Yes
                                                                               Decision granting or
                                                                               refusing the MA is
                                                                               available, or company’s
                                                                               letter notifying the
                                                                               withdrawal


PRAC Advice on risk management plans for                    No                 Non-R prior to Commission        No            Art. 4.3. 1st §                     Not applicable
authorised products, Type II safety variations,                                Decision on the variation
renewals, conditional renewals, annual                                         to the MA, the renewal or
reassessments                                                                  annual reassessment (or
                                                                               Committee Opinion if there
                                                                               is no subsequent
                                                                               Commission Decision, or



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 21/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22              Page 22 of 58
                                                                                   PageID: 57414


Document type 1                                              Third-            Classification 3               Access 4        Reference 5        Additional        Need for
                                                             party                                                                               justification 6   redaction
                                                             document 2                                                                                            of
                                                                                                                                                                   document
                                                                                                                                                                   prior to
                                                                                                                                                                   disclosure 7

                                                                               company’s letter notifying
                                                                               the withdrawal)


                                                                               R once Commission                Yes           Not applicable     Not applicable    Yes
                                                                               Decision on the variation
                                                                               to the MA, the renewal or
                                                                               annual reassessment is
                                                                               available, or upon
                                                                               availability of the
                                                                               Committee Opinion if there
                                                                               is no subsequent
                                                                               Commission Decision, or
                                                                               upon finalisation of the
                                                                               procedure related to the
                                                                               annual Decision of the
                                                                               Commission, or upon
                                                                               availability of company’s
                                                                               letter notifying the
                                                                               withdrawal


PRAC Advice on inspection requests and                      No                 Non-R                            No            Art.4.2. 3rd                         Not applicable
results (CAPs and NAPs)                                                                                                       indent


PRAC Advice on Type II variations, renewals,                No                 Non-R prior to Commission        No            Art. 4.3. 1st §                      Not applicable
conditional renewals, annual-reassessments                                     Decision on the variation
                                                                               to the MA, the renewal or



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                       Page 22/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 23 of 58
                                                                                   PageID: 57415


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7

                                                                               annual reassessment (or
                                                                               Committee Opinion if there
                                                                               is no subsequent
                                                                               Commission Decision, or
                                                                               company’s letter notifying
                                                                               the withdrawal)


                                                                               R once Commission                Yes           Not applicable    Not applicable    Yes
                                                                               Decision on the variation
                                                                               to the MA, the renewal or
                                                                               annual reassessment is
                                                                               available, or upon
                                                                               availability of the
                                                                               Committee Opinion if there
                                                                               is no subsequent
                                                                               Commission Decision, or
                                                                               upon finalisation of the
                                                                               procedure related to the
                                                                               annual Decision of the
                                                                               Commission, or upon
                                                                               availability of company’s
                                                                               letter notifying the
                                                                               withdrawal


                                                                               Non-R prior to finalisation
PRAC Advice on safety issues discussed at the               Yes                                                 No            Art. 4.3. 1st §                     Not applicable
                                                                               of the regulatory
request of a Member State (NAPs)
                                                                               procedure at national level



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 23/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 24 of 58
                                                                                   PageID: 57416


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7

                                                                               R after finalisation of the      Yes           Not applicable    Not applicable    Yes
                                                                               regulatory procedure at
                                                                               national level




PRAC endorsement/refusal of PASS protocol                   No                 Non-R prior to adoption of       No            Art. 4.3. 1st §                     Not applicable
(CAPs and NAPs)                                                                PRAC outcome letter (or
                                                                               upon receipt of company’s
                                                                               letter notifying the
                                                                               withdrawal)


                                                                               R after adoption of the          Yes           Not applicable    Not applicable    Yes
                                                                               PRAC outcome letter (or
                                                                               upon receipt of company’s
                                                                               letter notifying the
                                                                               withdrawal)


PRAC Assessment Report (for CAPs,                           No                 Non-R prior to finalisation      No            Art. 4.3. 1st §                     Not applicable
CAPS/NAPs or NAPs, for all PRAC procedures)                                    of the regulatory
                                                                               procedure (see above for
                                                                               the concerned PRAC
                                                                               procedures)


                                                                               R after finalisation of the      Yes           Not applicable    Not applicable    Yes
                                                                               regulatory procedure (see




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 24/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 25 of 58
                                                                                   PageID: 57417


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
                                                                               above for the concerned
                                                                               PRAC procedures)


PRAC (Co)-Rapporteur Assessment Report                      No                 Non-R prior to finalisation      No            Art. 4.3. 1st §                     Not applicable
                                                                               of the regulatory
Written comments from PRAC members
                                                                               procedure (see above for
LoQs, LoOIs and RSIs                                                           the concerned PRAC

(for CAPs, CAPS/NAPs or NAPs, for all PRAC                                     procedures)

procedures)
                                                                               R after finalisation of the      Yes           Not applicable    Not applicable    Yes
                                                                               regulatory procedure (see
                                                                               above for the concerned
                                                                               PRAC procedures)


Agendas and minutes of PRAC meetings8                       No                 Published on EMA website         Yes           Not applicable    Not applicable    No



Tables of Conclusions/Decisions of PRAC                     No                 Non-R for concerned              No            Art. 4.3. 1st §                     Not applicable
meetings                                                                       medicinal product prior to
                                                                               finalisation of the
                                                                               regulatory procedure (see
                                                                               above for the concerned
                                                                               PRAC procedures)


                                                                               R after finalisation of the      Yes           Not applicable    Not applicable    Yes
                                                                               regulatory procedure (see
                                                                               above for the concerned



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 25/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22       Page 26 of 58
                                                                                   PageID: 57418


Document type 1                                              Third-            Classification 3               Access 4        Reference 5   Additional        Need for
                                                             party                                                                          justification 6   redaction
                                                             document 2                                                                                       of
                                                                                                                                                              document
                                                                                                                                                              prior to
                                                                                                                                                              disclosure 7
                                                                               PRAC procedures)




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                Page 26/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 27 of 58
                                                                                   PageID: 57419


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
1.3 Documents related to COMP activities

Opinion on Orphan Designation (Opinion page                  No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
only)                                                                          Commission Decision
                                                                               granting or refusing the
                                                                               designation (or
                                                                               company’s letter
                                                                               notifying the withdrawal)


                                                                               R once Commission              Yes             Not applicable    Not applicable    Yes
                                                                               Decision granting or
                                                                               refusing the designation
                                                                               is available (or
                                                                               company’s letter
                                                                               notifying the withdrawal)


COMP Summary Report (orphan designation)                     No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
                                                                               Commission Decision
Written comments from COMP Members
                                                                               granting or refusing the
LoQs                                                                           designation (or
                                                                               company’s letter
                                                                               notifying the withdrawal)


                                                                               R once Commission              Yes             Not applicable    Not applicable    Yes
                                                                               Decision granting or
                                                                               refusing the designation
                                                                               is available (or



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 27/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 28 of 58
                                                                                   PageID: 57420


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
                                                                               company’s letter
                                                                               notifying the withdrawal)


Opinion on review of designation criteria at                 No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
time of MA/new orphan indication                                               Commission Decision
                                                                               granting or refusing the
Summary report of review of designation
                                                                               orphan MA/new orphan
criteria at time of MA/new orphan indication
                                                                               indication (or company’s
                                                                               letter notifying the
                                                                               withdrawal)


                                                                               R once Commission              Yes             Not applicable    Not applicable    Yes
                                                                               Decision is available for
                                                                               concerned medicinal
                                                                               product granting or
                                                                               refusing the orphan
                                                                               MA/new orphan
                                                                               indication (or company’s
                                                                               letter notifying the
                                                                               withdrawal)




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 28/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 29 of 58
                                                                                   PageID: 57421


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

Agendas and minutes of COMP meetings8                        No                Agendas since October          Yes             Not applicable   Not applicable    No
                                                                               2012 and minutes since
                                                                               July 2012: published on
                                                                               EMA website



                                                                               Agendas and minutes            Yes             Not applicable   Not applicable    Yes
                                                                               prior to these dates: R




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 29/58
                               Case 1:19-md-02875-RMB-SAK                          Document 1906-2               Filed 02/08/22           Page 30 of 58
                                                                                    PageID: 57422


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
1.4 Documents related to HMPC activities: prepared by HMPC Rapporteurs – HMPC Experts during the scientific assessment
process for the establishment of Community herbal monographs and Community list entries

HMPC Opinions                                                No                Published on EMA               Yes             Not applicable    Not applicable    No
                                                                               website after adoption
                                                                               by HMPC


HMPC Assessment Report                                       No                Non-R before adoption          No              Art. 4.3. 1st §                     Not applicable
                                                                               by HMPC

                                                                               R after adoption by            Yes             Not applicable    Not applicable    Yes
                                                                               HMPC


Bibliographic references (supporting HMPC                    No                R                              No 10           Not applicable    Not applicable    Not applicable

assessment reports)


Overviews of comments received during public                 No                Non-R before adoption          No              Art. 4.3. 1st §                     Not applicable
consultation period                                                            by HMPC


Community herbal monographs and list entries                 Yes               Non-R before the               No              Art. 4.3. 1st §                     Not applicable
(submitted by interested parties in accordance with                            procedure establishing
the ‘’HMPC Procedure on management of proposals                                the HMPC monograph is
from interested parties for Community list entries                             finalised/the list entry is
and Community herbal monographs’                                               published by the
(EMEA/HMPC/328575/2007))                                                       European Commission




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 30/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 31 of 58
                                                                                   PageID: 57423


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

                                                                               Published on EMA               Yes             Not applicable   Not applicable    No
                                                                               website after the
                                                                               procedure establishing
                                                                               the HMPC monograph is
                                                                               finalised/the list entry is
                                                                               published by the
                                                                               European Commission


Agendas and minutes of HMPC meetings8                        No                Agendas and minutes            Yes             Not applicable   Not applicable    No
                                                                               since September 2013:
                                                                               published on EMA
                                                                               website

                                                                               Agendas and minutes
                                                                                                              Yes             Not applicable   Not applicable    Yes
                                                                               prior to this date: R




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 31/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 32 of 58
                                                                                   PageID: 57424


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
1.5 Documents related to PDCO activities

EMA Decisions on PIP, PIP modification and                   No                Published on EMA               Yes             Not applicable    Not applicable    No
product-specific waiver (excluding the                                         website once the EMA
Summary Report part, see below)                                                Decision is available


EMA Decisions on class waivers                               No                Published on EMA               Yes             Not applicable    Not applicable    No
                                                                               website once the EMA
                                                                               Decision is available


PDCO Compliance Opinion                                      No                Non-R prior to the             No              Art. 4.3. 1st §                     Not applicable
                                                                               adoption of the PDCO
                                                                               Opinion




                                                             No                R once the PDCO                Yes             Not applicable    Not applicable    No
                                                                               Opinion is available


EMA/PDCO Summary Reports on applications                     No                Non-R prior to the EMA         No              Art. 4.3. 1st §                     Not applicable
on PIPs, PIP modification(s)                                                   Decision on PIP/PIP
                                                                               modification(s) for the
                                                                               concerned medicinal
                                                                               product/active substance




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 32/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 33 of 58
                                                                                   PageID: 57425


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7

                                                                               R once the EMA                 Yes             Not applicable    Not applicable    Yes
                                                                               Decision on PIP/PIP
                                                                               modification(s) is
                                                                               available for the
                                                                               concerned medicinal
                                                                               product/active substance
                                                                               and PIP/PIP
                                                                               modification(s) is
                                                                               completed or company’s
                                                                               letter notifying the
                                                                               withdrawal of the
                                                                               PIP/PIP modification(s)
                                                                               has been received


         •    EMA/PDCO Summary Reports on                    No                Non-R prior to EMA             No              Art. 4.3. 1st §                     Not applicable
              applications of product specific full                            Decision on the granting
              waivers                                                          or refusing of a product
                                                                               specific waiver is
         •    EMA/PDCO Summary Reports on
                                                                               available for the
              applications on PIPs, PIP
                                                                               concerned medicinal
              modifications resulting in granting
                                                                               product/active substance
              product specific full waivers




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 33/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 34 of 58
                                                                                   PageID: 57426


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7

                                                             No                R once the EMA                 Yes             Not applicable    Not applicable    Yes
                                                                               Decision on the granting
                                                                               or refusing a product
                                                                               specific waiver is
                                                                               available for the
                                                                               concerned medicinal
                                                                               product/active substance
                                                                               or company’s letter
                                                                               notifying the withdrawal
                                                                               of the full waiver has
                                                                               been received


EMA/PDCO Compliance Report                                   No                Non-R prior to the             No              Art. 4.3. 1st §                     Not applicable
                                                                               adoption of the PDCO
                                                                               opinion on compliance
                                                                               for the concerned
                                                                               medicinal product/active
                                                                               substance.


                                                                               R once PDCO opinion on         Yes             Not applicable    Not applicable    Yes
                                                                               compliance for the
                                                                               concerned medicinal
                                                                               product/active substance
                                                                               has been adopted.




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 34/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 35 of 58
                                                                                   PageID: 57427


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

Public Summary of the proposed evaluation of                 No                Published on EMA               Yes             Not applicable   Not applicable    No
the PIP/waiver/modification procedure                                          website once EMA
                                                                               Decision is available for
                                                                               concerned PIP/waiver


Agendas and minutes of PDCO meetings8                        No                Agendas and minutes            Yes             Not applicable   Not applicable    No
                                                                               since June 2012:
                                                                               published on EMA
                                                                               website


                                                                               Agendas and minutes            Yes             Not applicable   Not applicable    Yes
                                                                               prior to these dates: R




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 35/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 36 of 58
                                                                                   PageID: 57428


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
1.6 Documents related to CAT activities

CAT Draft Opinion                                            No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
                                                                               Commission Decision
                                                                               granting or refusing the
                                                                               MA/variation to the MA
                                                                               (or company’s letter
                                                                               notifying the withdrawal)


                                                                               R once Commission              Yes             Not applicable    Not applicable    Yes
                                                                               Decision granting or
                                                                               refusing the
                                                                               MA/variation to the MA
                                                                               is available (or
                                                                               company’s letter
                                                                               notifying the withdrawal)


CAT Assessment Report                                        No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
                                                                               Commission Decision
                                                                               granting or refusing the
                                                                               MA/variation to the MA
                                                                               (or company’s letter
                                                                               notifying the withdrawal)


                                                                               R once Commission              Yes             Not applicable    Not applicable    Yes
                                                                               Decision granting or
                                                                               refusing the



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 36/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22          Page 37 of 58
                                                                                   PageID: 57429


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
                                                                               MA/variation to the MA
                                                                               is available (or
                                                                               company’s letter
                                                                               notifying the withdrawal)




(Co)-Rapporteur Assessment Report                            No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
                                                                               Commission Decision
Written comments from CAT Members (including
                                                                               granting or refusing the
comments received in the context of the peer review
                                                                               MA/variation to the MA
exercise)
                                                                               (or company’s letter
LoQs and LoOIs                                                                 notifying the withdrawal)


                                                                               R once Commission              Yes             Not applicable    Not applicable    Yes
                                                                               Decision granting or
                                                                               refusing the
                                                                               MA/variation to the MA
                                                                               is available (or
                                                                               company’s letter
                                                                               notifying the withdrawal)


Agendas and minutes of CAT meetings8                         No                Agendas and minutes            Yes             Not applicable    Not applicable    No
                                                                               since December 2013:
                                                                               published on EMA
                                                                               website




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 37/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 38 of 58
                                                                                   PageID: 57430


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7

                                                                               Agendas and minutes            Yes             Not applicable    Not applicable    Yes
                                                                               prior to this date: R



Tables of Conclusions/Decisions of CAT                       No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
meetings                                                                       Commission Decision for
                                                                               concerned medicinal
                                                                               product granting or
                                                                               refusing the
                                                                               MA/variation to the MA
                                                                               (or company’s letter
                                                                               notifying the withdrawal)


                                                                               R for concerned                Yes             Not applicable    Not applicable    Yes
                                                                               medicinal product once
                                                                               Commission Decision
                                                                               granting or refusing the
                                                                               MA/variation to the MA
                                                                               is available (or
                                                                               company’s letter
                                                                               notifying the withdrawal)


Agendas of CAT Working Party meetings                        No                Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
                                                                               Commission Decision for
Tables of Conclusions/Decisions of CAT
                                                                               concerned medicinal
Working Party meetings
                                                                               product granting or
                                                                               refusing the


Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 38/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 39 of 58
                                                                                   PageID: 57431


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

Minutes of CAT Working Party meetings                                          MA/variation to the MA
                                                                               (or company’s letter
                                                                               notifying the withdrawal)


                                                                               R for concerned                Yes             Not applicable   Not applicable    Yes
                                                                               medicinal product once
                                                                               Commission Decision is
                                                                               available granting or
                                                                               refusing the
                                                                               MA/variation to the MA
                                                                               (or company’s letter
                                                                               notifying the withdrawal)


Documents related to ATMP Certification                      No                Non-R prior to                 No              Art. 4.2. 1st                      Not applicable
(Request for supplementary information for ATMP                                Commission Decision for                        indent
Certification, CAT certification evaluation report                             concerned medicinal
(D90), CAT Opinion on certification, EMA Certificate                           product granting or
for ATMP certification or EMA advisory letter refusing                         refusing the MA
ATMP certification)                                                            application (or
                                                                               company’s letter
                                                                               notifying the withdrawal)


                                                                               R once Commission              Yes             Not applicable   Not applicable    Yes
                                                                               Decision is available for
                                                                               concerned medicinal
                                                                               product granting or




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                     Page 39/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 40 of 58
                                                                                   PageID: 57432


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7
                                                                               refusing the MA (or
                                                                               company’s letter
                                                                               notifying the withdrawal)


Documents related to ATMP Classification (CAT                No                Non-R prior to end of the      No              Art 4.3. 1st §                     Not applicable
Recommendation on classification as ATMP, List of                              procedure at Day 60
questions for the ATMP classification procedure)
                                                                               R after the procedure at       Yes             Not applicable   Not applicable    Yes
                                                                               Day 60




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                     Page 40/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 41 of 58
                                                                                   PageID: 57433


Document type1                                               Third-            Classification3                Access4         Reference5        Additional       Need for
                                                             party                                                                              justification6   redaction
                                                             document2                                                                                           of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure7

1.7 Documents related to advice from Specialised Expertise

Advice from Specialised Expertise (either in the             No                Non-R prior to                 No              Art. 4.3. 1st §                    Not applicable
context of Working Parties (e.g. BWP), SAGs, ad hoc                            Commission Decision
Expert Groups, or in the context of individual advice                          granting or refusing the
provided), covering centralised procedures (CAPs),                             MA/variation to the MA
arbitration/ referral procedures (CAPs and NAPs, as                            (or Committee Opinion if
well as pharmacovigilance procedures (CAPs and                                 there is no subsequent
NAPs)                                                                          Commission Decision, or
                                                                               Committee conclusion if
                                                                               there is no subsequent
Agendas and minutes of SAG and ad hoc Expert                                   Committee Opinion, or
Group meetings                                                                 company’s letter
                                                                               notifying the withdrawal)


                                                                               R once Commission              Yes             Not applicable    Not applicable   Yes
                                                                               Decision granting or
                                                                               refusing the
                                                                               MA/variation to the MA
                                                                               is available (or
                                                                               Committee Opinion if
                                                                               there is no subsequent
                                                                               Commission Decision/the
                                                                               procedure is subject to
                                                                               the annual decision of
                                                                               the Commission, or




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                     Page 41/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22       Page 42 of 58
                                                                                   PageID: 57434


Document type 1                                              Third-            Classification 3               Access 4        Reference 5   Additional        Need for
                                                             party                                                                          justification 6   redaction
                                                             document 2                                                                                       of
                                                                                                                                                              document
                                                                                                                                                              prior to
                                                                                                                                                              disclosure 7
                                                                               Committee conclusion if
                                                                               there is no subsequent
                                                                               Committee Opinion, or
                                                                               company’s letter
                                                                               notifying the withdrawal)




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                Page 42/58
                               Case 1:19-md-02875-RMB-SAK                          Document 1906-2               Filed 02/08/22         Page 43 of 58
                                                                                    PageID: 57435


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

2. Documents or relevant section of documents in relation to general scientific issues, organisational and operational aspects

Agendas and minutes of CHMP/CVMP/COMP/                       No                Published on EMA               Yes             Not applicable   Not applicable    No
HMPC/PDCO/CAT/PRAC meetings8                                                   website as specified
                                                                               before for the various
                                                                               Committees


                                                                               R prior to first               Yes             Not applicable   Not applicable    Yes
                                                                               publication of
                                                                               Committees’ agendas
                                                                               and minutes as specified
                                                                               before for the various
                                                                               Committees


Tables of Conclusions/Decisions of CHMP/                     No                R                              Yes             Not applicable   Not applicable    Yes
COMP/
HMPC/PDCO/CAT/PRAC meetings


Agendas and minutes of Working Party                         No                R                              Yes             Not applicable   Not applicable    Yes
meetings


Tables of Conclusions/Decisions of Working                   No                R                              Yes             Not applicable   Not applicable    Yes
Party meetings


Work plans of the EMA Scientific Committees                  No                Published on EMA               Yes             Not applicable   Not applicable    No
                                                                               website once discussions



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 43/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 44 of 58
                                                                                   PageID: 57436


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

and Working Parties                                                            are finalised at the
                                                                               respective EMA Scientific
                                                                               Committee


Rules of Procedure and mandates or equivalent                No                Published on EMA               Yes             Not applicable   Not applicable    No
documents of the EMA Scientific Committees                                     website once discussions
and their Working Parties                                                      are finalised at the
                                                                               respective EMA Scientific
                                                                               Committee and, where
                                                                               required, subsequent
                                                                               adoption by the
                                                                               European Commission
                                                                               and/or the Management
                                                                               Board has been obtained


Guidelines and other related documents                       No                Published on EMA               Yes             Not applicable   Not applicable    No
(including concept papers, reflection papers,                                  website once discussions
draft guidelines and final guidelines) 11                                      at the respective EMA
                                                                               Scientific Committee or
                                                                               the Inspections Working
                                                                               Group are finalised
                                                                               either resulting in a
                                                                               release for consultation
                                                                               or the final adoption




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 44/58
                               Case 1:19-md-02875-RMB-SAK                          Document 1906-2               Filed 02/08/22         Page 45 of 58
                                                                                    PageID: 57437


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

Guidelines and other related documents                       No                R                              Yes             Not applicable   Not applicable    No
(including concept papers, reflection papers, draft
guidelines and final guidelines)11 – previous versions
not available on EMA’s website



List of medicinal products under additional                  No                Published on EMA               Yes             Not applicable   Not applicable    No
monitoring                                                                     website



Medical literature monitoring: substance and herbal          No                Published on EMA               Yes             Not applicable   Not applicable    No
substance groups                                                               website



List of Union reference dates and frequency of               No                R once adopted by the          Yes             Not applicable   Not applicable    No
submission of PSURs for CAPs and NAPs                                          CHMP and the CMDh
                                                                               following consultation
                                                                               with the PRAC




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 45/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 46 of 58
                                                                                   PageID: 57438


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7
3. Documents prepared by the EMA in the context of the Agency’s transparency initiatives

CHMP/CVMP/COMP/HMPC/PDCO/CAT/PRAC                             No               Published on EMA               Yes             Not applicable   Not applicable    No
Press Releases/Monthly Reports/Meeting                                         website after embargo
Reports                                                                        date and time


Product specific Press Releases/Public                        No               Published on EMA               Yes             Not applicable   Not applicable    No
Statements/Q&A documents                                                       website after embargo
                                                                               date and time


Summaries of CHMP/CVMP Opinion (both pre-                     No               Published on EMA               Yes             Not applicable   Not applicable    No
and post-authorisation)                                                        website after embargo
                                                                               date and time


Summaries of PRAC recommendations                             No               Published on EMA               Yes             Not applicable   Not applicable    No
                                                                               website after embargo
                                                                               date and time


EPARs                                                         No               Published on EMA               Yes             Not applicable   Not applicable    No
                                                                               website once
EPAR summaries
                                                                               Commission Decision is
EPAR summary updates                                                           available (or Committee
                                                                               Opinion if there is no
                                                                               subsequent Commission
                                                                               Decision)




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 46/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 47 of 58
                                                                                   PageID: 57439


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

Withdrawal Assessment Reports (excl. MRLs)                    No               Published on EMA               Yes             Not applicable   Not applicable    No
                                                                               website once company’s
                                                                               letter notifying the
                                                                               withdrawal is available
                                                                               and Withdrawal
                                                                               Assessment Report is
                                                                               finalised (approximately
                                                                               3 months after
                                                                               company’s letter
                                                                               notifying the withdrawal)


Public Summary of Opinion on Orphan                           No               Published on EMA               Yes             Not applicable   Not applicable    No
Designation                                                                    website once
                                                                               Commission Decision on
Public Summary of review of orphan
                                                                               Orphan Designation is
designation at time of MA
                                                                               available


Summary of CAT Scientific Recommendation on                   No               Published on EMA               Yes             Not applicable   Not applicable    No
ATMP Classification                                                            website once the CAT
                                                                               Recommendation has
                                                                               been adopted


HMPC Assessment Report Summary for the                        No               Published on EMA               Yes             Not applicable   Not applicable    No
Public                                                                         website after adoption
                                                                               by the HMPC




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 47/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22         Page 48 of 58
                                                                                   PageID: 57440


Document type 1                                              Third-            Classification 3               Access 4        Reference 5      Additional        Need for
                                                             party                                                                             justification 6   redaction
                                                             document 2                                                                                          of
                                                                                                                                                                 document
                                                                                                                                                                 prior to
                                                                                                                                                                 disclosure 7

PIP and Waiver Decision / Public Summary of                   No               Published on EMA               Yes             Not applicable   Not applicable    No
the proposed evaluation of the PIP/waiver                                      website once EMA
                                                                               Decision is available for
                                                                               concerned PIP/waiver


Annual Report on deferrals of PIP measures                    No               Published on EMA               Yes             Not applicable   Not applicable    No
                                                                               website




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                   Page 48/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22          Page 49 of 58
                                                                                   PageID: 57441


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
4. Documents submitted by applicants and MAHs

Marketing Authorisation dossier/ updates and                 Yes               Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
changes to the Marketing Authorisation dossier                                 Commission Decision (or
including pre-authorisation applications (such as                              Committee Opinion if
Scientific Advice requests, MRL applications,                                  there is no subsequent
Innovation Task Force documents, Clinical Study                                Commission Decision, or
Reports (CSRs) etc.), or pharmacovigilance post-                               Committee conclusion if
authorisation procedures                                                       there is no subsequent
                                                                               Committee Opinion, or
(centralised procedures (CAPs) , arbitration/ referral
                                                                               company’s letter
procedures (CAPs and NAPs, and pharmacovigilance
                                                                               notifying the withdrawal)
procedures (CAPs and NAPs)

                                                                               R once Commission              Yes             Not applicable    Not applicable    Yes
                                                                               Decision is available (or
                                                                               Committee Opinion if
                                                                               there is no subsequent
                                                                               Commission Decision, or
                                                                               Committee conclusion if
                                                                               there is no subsequent
                                                                               Committee Opinion, or
                                                                               company’s letter
                                                                               notifying the withdrawal)




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 49/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22              Page 50 of 58
                                                                                   PageID: 57442


Document type 1                                              Third-            Classification 3               Access 4        Reference 5        Additional        Need for
                                                             party                                                                               justification 6   redaction
                                                             document 2                                                                                            of
                                                                                                                                                                   document
                                                                                                                                                                   prior to
                                                                                                                                                                   disclosure 7
5. Other Documents

Documents held by the EMA, for which the EMA                 Yes and           Non-R until the third-         Depending       Art. 4.5. 12                         Yes
is not the originator, and falling within the                always            party consultation has         on the
scope of CMD(h)/CMD(v) activities                            requiring         been finalised                 outcome of
                                                             third-party                                      the third-
                                                             consultation                                     party
                                                             prior to                                         consultation
                                                             disclosure


Documents held by the EMA, for which the EMA                 Yes and           Non-R until the third-         Depending       Art. 4.5.                            Yes
is not the originator, and falling within the                always            party consultation has         on the
scope of PRAC activities for non-CAPs                        requiring         been finalised                 outcome of
                                                             third-party                                      the third-
                                                             consultation                                     party
                                                             prior to                                         consultation
                                                             disclosure


Documents held by the EMA, for which the EMA                 Yes and           Non-R until the third-         Depending       Art. 4.5.                            Yes
is not the originator, and falling within the                always            party consultation has         on the
scope of the Inspections Group activities for                requiring         been finalised                 outcome of
non-CAPs                                                     third-party                                      the third-
                                                             consultation                                     party
                                                             prior to                                         consultation
                                                             disclosure




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                     Page 50/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22                  Page 51 of 58
                                                                                   PageID: 57443


Document type 1                                              Third-            Classification 3               Access 4        Reference 5            Additional        Need for
                                                             party                                                                                   justification 6   redaction
                                                             document 2                                                                                                of
                                                                                                                                                                       document
                                                                                                                                                                       prior to
                                                                                                                                                                       disclosure 7

Documents in the framework of Sampling and                   No                Non-R                          No              Art. 4.1.(a)                             Not applicable
Testing (product related and non-product related                                                                              3rd indent
documents)


Reports linked to the EDQM Agreement as well                 Yes, and          Non-R until the third-         Depending       Art. 4.1.(a)                             Yes
                                                                                                                                   rd
as EDQM documents                                            always            party consultation has         on the          3         indent
                                                             requiring         been finalised                 outcome of
                                                             third-party                                      the third-
                                                             consultation                                     party
                                                             prior to                                         consultation
                                                             disclosure


Documents held by the EMA in the context of                  Yes               Non-R                          No              Art. 4.1.(a)                             Not applicable
                                                                                                                                   rd
international cooperation (e.g. Third Party                                                                                   3         indent
bilateral agreements)


Documents held by EMA in the context of                      Two               Non-R (in both                 Depending       Art. 4.1.(a)                             Yes
Mutual Recognition Agreements (Assessment                    situations are    situations), until the         on the          3rd indent
Reports of Regulatory Agencies, Annual Reports)              possible:         third-party consultation       outcome of
                                                                               has been finalised             the third-
                                                             In those
                                                                                                              party
                                                             cases where
                                                                                                              consultation
                                                             there is a
                                                             joint
                                                             ownership,
                                                             consultation



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                           Page 51/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22       Page 52 of 58
                                                                                   PageID: 57444


Document type 1                                              Third-            Classification 3               Access 4        Reference 5   Additional        Need for
                                                             party                                                                          justification 6   redaction
                                                             document 2                                                                                       of
                                                                                                                                                              document
                                                                                                                                                              prior to
                                                                                                                                                              disclosure 7

                                                             will take place
                                                             as per the
                                                             joint
                                                             ownership
                                                             agreement

                                                             • Where there
                                                               is no
                                                               specific
                                                               provision,
                                                               third party
                                                               consultation
                                                               will take
                                                               place




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                Page 52/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 53 of 58
                                                                                   PageID: 57445


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
6. Disclosure of names of individuals involved in an EMA activity and contained in EMA documents

Names of CHMP/CVMP/PRAC/COMP/                                Not applicable    Published on EMA               Yes             Not applicable    Not applicable    No
HMPC/PDCO/CAT and Working Party members                                        website
(composition of Committee/Working Party only)


Names of SAG core members (composition of                    Not applicable    Published on EMA               Yes             Not applicable    Not applicable    No
SAG core group only)                                                           website


Names of CHMP/CVMP and PRAC (Co)-                            Not applicable    Non-R prior to                 No              Art. 4.3. 1st §                     Not applicable
Rapporteurs involved in pre-authorisation                                      Commission Decision
activities, as well as in arbitration and referral                             granting or refusing the
procedures                                                                     MA, or prior to
                                                                               Commission Decision on
Names of scientific committee peer reviewers
                                                                               the Committee Opinion
                                                                               on the outcome of the
                                                                               arbitration/referral
                                                                               procedure, or prior to
                                                                               company’s letter
                                                                               notifying the withdrawal


                                                                               R once Commission              Yes             Not applicable    Not applicable    No
                                                                               Decision granting or
                                                                               refusing the MA, or on
                                                                               the Committee Opinion
                                                                               on the outcome of the
                                                                               arbitration/referral


Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 53/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 54 of 58
                                                                                   PageID: 57446


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7
                                                                               procedure is available,
                                                                               or upon availability of
                                                                               the company’s letter
                                                                               notifying the withdrawal


Names of CHMP/CVMP members expressing a                      Not applicable    Non-R prior to outcome         No              Art. 4.3. 1st §                     Not applicable
divergent position in the Annexes of the                                       of re-examination,
Committee’s opinion                                                            where applicable


                                                                               Published on EMA               Yes             Not applicable    Not applicable    No
                                                                               website at time of
                                                                               Opinion unless re-
                                                                               examination has been
                                                                               requested. In case of re-
                                                                               examination the names
                                                                               will be published at the
                                                                               time of the outcome of
                                                                               the re-examination, or
                                                                               upon availability of the
                                                                               company’s letter
                                                                               notifying the withdrawal


Names of CHMP/CVMP and PRAC (Co)-                            Not applicable    Published on EMA               Yes             Not applicable    Not applicable    No
Rapporteurs involved in post-authorisation                                     website
activities




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 54/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 55 of 58
                                                                                   PageID: 57447


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7

Names of SAG additional members and ad hoc                   Not applicable    Non-R prior to                 No              Art. 4.3. 1st §   Not applicable    No
Expert Group members involved in the                                           Commission Decision
assessment process of a specific medicinal                                     granting or refusing the
product                                                                        MA/variation to the MA,
                                                                               or prior to Commission
                                                                               Decision on the
                                                                               Committee Opinion on
                                                                               the outcome of the
                                                                               referral, or prior to
                                                                               company’s letter
                                                                               notifying the withdrawal


                                                                               R once Commission              Yes             Not applicable    Not applicable    No
                                                                               Decision granting or
                                                                               refusing the
                                                                               MA/variation to the MA
                                                                               is available, or on the
                                                                               Committee Opinion on
                                                                               the outcome of the
                                                                               referral is available, or
                                                                               upon availability of the
                                                                               company’s letter
                                                                               notifying the withdrawal


Names of Inspectors                                          Not applicable    Non-R                          No              Art. 4.2. 3rd     Not applicable    No




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                    Page 55/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 56 of 58
                                                                                   PageID: 57448


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional        Need for
                                                             party                                                                              justification 6   redaction
                                                             document 2                                                                                           of
                                                                                                                                                                  document
                                                                                                                                                                  prior to
                                                                                                                                                                  disclosure 7

                                                                                                                              indent


Names of CHMP/CVMP and PRAC assessors,                       Yes 13            Non-R                          No              Art 4.5           Not applicable    Not applicable
part of the CHMP/CVMP (Co)-Rapporteur team
(pre- and post-authorisation)

                                                                               Non-R before adoption
Names of Rapporteur(s), peer-reviewers and                   Not applicable    by HMPC of the                 No              Art. 4.3. 1st §   Not applicable    Not applicable
assessors involved in the establishment of                                     Assessment Report
Community herbal monographs and
Community list entries                                                         R after adoption by
                                                                               HMPC of the Assessment         Yes             Not applicable    Not applicable    No
                                                                               Report


Names of HMPC (Co)-Rapporteurs and HMPC                      Not applicable    Non-R prior to                 No              Art. 4.3. 1st §   Not applicable    Not applicable
peer-reviewers involved in arbitration and                                     Commission Decision
referral procedures                                                            granting or refusing the
                                                                               MA, or prior to
                                                                               Commission Decision on
                                                                               the Committee Opinion
                                                                               on the outcome of the
                                                                               arbitration/referral
                                                                               procedure, orprior to
                                                                               company’s letter
                                                                               notifying the withdrawal


                                                                               R once Commission              Yes             Not applicable    Not applicable    No
                                                                               Decision granting or



Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                      Page 56/58
                               Case 1:19-md-02875-RMB-SAK                         Document 1906-2                Filed 02/08/22           Page 57 of 58
                                                                                   PageID: 57449


Document type 1                                              Third-            Classification 3               Access 4        Reference 5       Additional          Need for
                                                             party                                                                              justification 6     redaction
                                                             document 2                                                                                             of
                                                                                                                                                                    document
                                                                                                                                                                    prior to
                                                                                                                                                                    disclosure 7
                                                                               refusing the MA, or on
                                                                               the Committee Opinion
                                                                               on the outcome of the
                                                                               arbitration/referral
                                                                               procedure is available,
                                                                               or upon availability of
                                                                               the company’s letter
                                                                               notifying the withdrawal

                                                                               Non-R before adoption
Names of Rapporteur(s) and other scientific                  Not applicable    by the relevant                No              Art. 4.3. 1st §   Not applicable      Not applicable
experts involved in the establishment of                                       Committee of the
                                                                               scientific Guideline
Guidelines and other related documents
(including concept papers, reflection papers,
                                                                               R after adoption by the
draft Guidelines and final Guidelines11-previous                               relevant Committee of          Yes             Not applicable    Not applicable      No
versions not available on EMA’s website)                                       the scientific Guideline



Names of EMA Staff involved in pre- and post-                Not applicable    Non-R                          No              Art. 4.1.(b)      Not applicable      Yes
authorisation activities not listed on EMA’s
website



Footnotes

1
          Refers to any document the EMA produces, receives or has in its possession.
2
         Means any natural or legal person, or any entity outside the EMA, including the Member States, other Community or non-Community Institutions and Bodies, and third
countries. Either “Yes” or “No” to be filled in. “Yes” may/shall lead to a consultation exercise with the third party (cfr. policy for further details) with a view to assessing whether an
exception listed in Article 4 of Regulation (EC) No 1049/2011. (see also footnote 14) is applicable, unless it is clear that the document shall or shall not be disclosed.




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                         Page 57/58
                                  Case 1:19-md-02875-RMB-SAK                       Document 1906-2               Filed 02/08/22         Page 58 of 58
                                                                                    PageID: 57450


3
     All documents classified as Releasable (R) or Non-Releasable (NON-R). Releasable (R) are the documents that are either published on the Agency’s website or that can be released
     in line with the European Medicines Agency policy on access to documents and the provisions of Regulation (EC) No 1049/2001. Non-Releasable (NON-R) are the documents that
     cannot be released in line with the European Medicines Agency policy on access to documents and the provisions of Regulation (EC) No 1049/2001.
4
     Either access to be granted (Yes) or to be refused (No); in case of third-party consultation the granting or not of access will depend on the outcome of such consultation.
5
          Only to be filled in if access to EMA documents is refused by virtue of application of one of the exceptions mentioned in Article 4 of Regulation (EC) No 1049/2001, i.e. by
referring to:
Article 4.1.(a)
                The Agency shall refuse access to a document where disclosure would undermine the protection of the public interest as regards public security, defence and military
                matters, international relations, the financial, monetary or economic policy of the EU or a Member State.
Article 4.1.(b)
                  The Agency shall refuse access to a document where disclosure would undermine the protection of privacy and the integrity of the individual, in particular in accordance
                  with EU legislation regarding the protection of personal data.
Article 4.2. 1st indent
                The Agency shall refuse access to a document where disclosure would undermine the protection of commercial interests of a natural or legal person, including intellectual
                property.
Article 4.2. 2nd indent
                The Agency shall refuse access to a document where disclosure would undermine the protection of court proceedings and legal advice.
Article 4.2. 3rd indent
                The Agency shall refuse access to a document where disclosure would undermine the protection of the purpose of inspections, investigations and audits.
Article 4.3. 1st paragraph
               Access to a document, produced, received or in possession of the Agency shall be refused if disclosure of the document would seriously undermine the decision-making
               process.
Article 4.3. 2nd paragraph
               Access to a document containing opinions for internal use as part of deliberations and preliminary consultations within the Agency shall be refused even after the decision
               has been taken if disclosure of the document would seriously undermine the Agency’s decision-making process.
6
     Additional justification to be provided in order to further elaborate on the rationale for not providing access as per the reference to the exceptions mentioned in Article 4. Such
     additional justification will be included in the document on an ongoing basis once more experience is obtained.
7
     Redaction of EMA documents will be carried out to remove any reference to commercial confidential information or to personal data.
8
     See “Principles for publication of agendas and minutes of EMA scientific committees (EMA/555647/2013).
9
     This includes the QRD (Quality Review of Documents) and invented Name Review Group meetings, where relevant.
10
     Copies of bibliographic data protected by copyright, according to Article 16 of Regulation (EC) No 1049/2001, cannot directly be provided by the EMA to the public.
11
     As defined in the ‘Procedure for EU guidelines and related documents within the pharmaceutical legislative framework’ (EMEA/P/24143/2004 Rev. 1 corr).
12
     In line with Regulation (EC) No 1049/2001 a Member State may request not to disclose without its prior agreement.
13
     A third-party consultation has been undertaken resulting in the Memorandum of Understanding between the European Medicines Agency and the National Competent Authorities of
     the Member States on the monitoring of the scientific level and independence of the evaluation carried out by the National Competent Authorities for services to be provided to the
     Agency (Doc. Ref.: EMA/150487/2010).




Output of the European Medicines Agency policy on access to documents related to medicinal products for human and veterinary use
EMA/127362/2006, Rev. 1                                                                                                                                                        Page 58/58
